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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   BOARD OF TRUSTEES,                                     )
   SHEET METAL WORKERS’                                   )
   LOCAL 9 PENSION TRUST, et al.                          )
                                                          )
                   Plaintiffs,                            )
                                                          )       Case No. 1:23-cv-03458-NYW-SBP
   v.                                                     )
                                                          )
   AMERICAN VETERAN HEATING & AIR,                        )
                                                          )
                   Defendant.                             )

                              MEMORANDUM IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

            Plaintiffs,1 pursuant to Fed. R. Civ. P. 55 and by their attorneys Slevin & Hart, P.C., hereby

   submit this Memorandum in Support of their Motion for Default Judgment against Defendant

   American Veteran Heating & Air (“Defendant”) and respectfully request that the Court enter a

   final judgment for Plaintiffs and against Defendant in the amount of at least $220,753.49.

   I.       Factual Background

            1.     In this action, which arises under the Employee Retirement Income Security Act of

   1974, as amended (“ERISA”) and the Labor Management Relations Act (“LMRA”), Plaintiffs

   seek a money judgment awarding delinquent contributions, accrued interest, liquidated damages,




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           Plaintiffs are the following: (i) the Board of Trustees of the Sheet Metal Workers’ Local
   9 Pension Trust (the “Pension Fund”); (ii) the Board of Trustees of the Colorado Sheet Metal
   Workers’ Local 9 Health Fund (the “Health Fund”); (iii) the Joint Apprenticeship and Training
   Committee of the Colorado Sheet Metal Workers Training Fund (the “Training Fund”); (iv) the
   SMART Local 9 Vacation Plan (the “Vacation Plan”); (v) the Colorado Sheet Metal Industry Fund
   (the “Industry Fund”); and (vi) the SMACNA Colorado Drug Testing Fund (the “Drug Testing
   Fund”). The Pension Fund, Health Fund, and Training Fund are referred to collectively as the
   “ERISA Funds.” The ERISA Funds, Vacation Plan, Industry Fund, and Drug Testing Fund are
   referred to collectively as the “Funds.”

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   and attorneys’ fees and costs owed by Defendant to Plaintiffs, pursuant to ERISA §§ 502(g)(2)

   and 515, 29 U.S.C. §§ 1132(g)(2) and 1145, LMRA § 301, 29 U.S.C. § 185, and Defendant’s

   collective bargaining agreement (“CBA”). (See Complaint, ECF #1 (“Compl.”)).

            2.    Each of the ERISA Funds is a multiemployer jointly administered labor-

   management employee benefit plan created and maintained pursuant to Section 302(c)(5) of the

   LMRA, 29 U.S.C. § 186 (c)(5), and a “multiemployer plan” as defined in Section 3(37) of ERISA,

   29 U.S.C. § 1002 (37). The ERISA Funds are employee benefit plans within the meaning of

   Section 3(3) of ERISA, 29 U.S.C. § 1002(3), and employee welfare benefit plans or employee

   pension benefit plans within the meaning of Sections 3(1) or 3(2) of ERISA, 29 U.S.C. §§ 1002(1)

   or (2), maintained for the purpose of providing retirement, medical, accident, disability, or

   apprenticeship and related benefits to eligible participants and their beneficiaries. (See Compl.

   ¶ 7; Ex. 1 - Declaration of Traci Mouritsen (“Mouritsen Dec.”) ¶ 3).

            3.    At all relevant times, International Association of Sheet Metal, Air, Rail, and

   Transportation Workers’ Local 9 (“Local 9”) has been the exclusive collective bargaining agent

   for a unit of Defendant’s sheet metal employees. (See Compl. ¶ 13; Mouritsen Dec. ¶ 4).

            4.    At all relevant times, Defendant has been a party to a CBA with Local 9 covering

   Defendant’s sheet metal employees. (See Compl. ¶ 14; Mouritsen Dec. ¶ 5 & Ex. A).

            5.    Defendant’s CBA provides that it shall “remain in full force and effect until the 30 th

   day of June 2019, and shall continue in force from year to year thereafter unless written notice of

   reopening is given not less than ninety (90) days prior to the expiration date. In the event such

   notice of reopening is served, this Agreement shall continue in force and effect until conferences

   relating thereto have been terminated by either party.” (See Mouritsen Dec. ¶ 6 & Ex. A).




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             6.    Neither party to Defendant’s CBA has terminated it pursuant to that provision in

   the CBA and so the CBA, including Defendant’s obligations to contribute to the Funds, continues

   in full force and effect. (See Mouritsen Dec. ¶ 7).

             7.    The CBA obligates Defendant to pay contributions to the Funds. (See Compl. ¶ 16;

   Mouritsen Dec. ¶ 8 & Ex. A).

             8.    Article 8, Section 24(c) of the CBA provides that contributions to the Funds are due

   no later than the twentieth (20th) day of each month following the month in which the covered

   work is performed.      That section of the CBA further requires Defendant to transmit its

   contributions to the Funds “together with a remittance report containing such information, in such

   manner, and on such form as may be required by a fund’s Board of Trustees.” (See Compl. ¶ 17;

   Mouritsen Dec. ¶ 9 & Ex. A).

             9.    Article 8, Section 24(e) of the CBA provides that Defendant is bound to the

   provisions of the Agreement and Declaration of Trust of each of the ERISA Funds (collectively,

   the “Trust Agreements”), which are incorporated by reference into the CBA, and to the actions of

   the Trustees. Said Trust Agreements are terms of the CBA and are terms of the ERISA Funds’

   plans within the meaning of Section 515 of ERISA, 29 U.S.C. § 1145. (See Compl. ¶ 18; Mouritsen

   Dec. ¶ 10 & Ex. A).

             10.   Article 8, Section 24(f) of the CBA provides that Defendant is bound to retain

   records and to permit auditors authorized by the Funds to inspect Defendant’s payroll records to

   ensure compliance with its obligations to the Funds. (See Compl. ¶ 19; Mouritsen Dec. ¶ 11 &

   Ex. A).

             11.   Article 8, Section 24(h) of the CBA provides that, in the event Defendant defaults

   or becomes delinquent in any of its obligations to the Funds, Defendant shall be liable for such



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   penalties and costs as may be provided for by the Trust Agreements, resolutions, and policies of

   the respective Trustees, including, but not limited to, interest, liquidated damages, and all costs of

   collection including reasonable attorney’s fees and accounting fees. (See Compl. ¶ 20; Mouritsen

   Dec. ¶ 12 & Ex. A).

            12.   At all relevant times, the Collection Policy of each of the ERISA Funds, adopted

   by the Trustees pursuant to their authority under the ERISA Funds’ respective Trust Agreements,

   to which Defendant is contractually bound, has provided that an employer’s monthly contribution

   is delinquent if the completed remittance report and accompanying payment due the ERISA Funds

   are not received by the Funds after the twentieth (20th) day of the month following the month in

   which the covered work is performed. Said Collection Policy provides terms of the CBA and terms

   of the ERISA Funds’ plans within the meaning of Section 515 of ERISA, 29 U.S.C. § 1145. (See

   Compl. ¶ 21; Mouritsen Dec. ¶ 13 & Ex. B).

            13.   At all relevant times, the Collection Policy of each of the ERISA Funds has

   provided that an employer delinquent in its monthly contributions to the Funds is liable for interest

   at the rate of ten percent (10%) per annum, liquidated damages at the rate of twenty percent (20%)

   of the delinquent contributions, and the Funds’ attorneys’ fees and costs. (See Compl. ¶ 22;

   Mouritsen Dec. ¶ 14 & Ex. B).

            14.   Article 8, Section 12(B) of the CBA further provides that delinquent payments to

   the Vacation Plan shall be “subject to . . . interest, liquidated damages, attorney’s fees and other

   costs of audit and collection on the same terms and in the same amount as provided by the

   collection policy of the SMART Local 9 Benefit Fund, as may be amended from time to time, and

   which policy is hereby incorporated by reference by the parties to this Agreement.” (See Mouritsen

   Dec. ¶ 15 & Ex. A).



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            15.   The Funds must rely, in the first instance, upon the accuracy of the contributing

   employers, such as Defendant, in reporting hours worked and paid, and in properly calculating and

   reporting the contributions owed on behalf of their covered employees. (See Mouritsen Dec.

   ¶ 16).

            16.   Without accurate information, the Funds cannot determine the amount of the

   monthly contributions due to the Funds or the participants’ eligibility for benefits. (See Mouritsen

   Dec. ¶ 17).

            17.   Plaintiffs filed suit because, at the time the Complaint was filed, Defendant had

   failed to timely pay its contributions owed to the Funds pursuant to the terms of the CBA, Trust

   Agreements, and Collection Policy for the months of July 2022 through November 2022, and

   January 2023 through March 2023 (the “Current Delinquencies”). (See Compl. ¶ 23).

            18.   Defendant continues to owe a total of $83,216.98 to the Fund for the Current

   Delinquencies, inclusive of interest through May 31, 2024 and liquidated damages but excluding

   attorneys’ fees and costs, including the following amounts owed to each of the Funds (see

   Mouritsen Dec. ¶ 18):

                  a.       $21,784.43 to the Pension Fund, including $16,076.23 in principal

                           contributions, $3,215.25 in liquidated damages, and $2,492.95 in interest

                           through May 31, 2024; and

                  b.       $47,476.72 to the Health Fund, including $35,039.94 in principal

                           contributions, $7,007.99 in liquidated damages, and $5,428.79 in interest

                           through May 31, 2024; and




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                   c.     $6,052.77 to the Training Fund, including $4,468.02 in principal

                          contributions, $893.60 in liquidated damages, and $691.15 in interest

                          through May 31, 2024; and

                   d.     $5,958.37 to the Vacation Plan, including $4,394.97 in principal

                          contributions, $878.99 in liquidated damages, and $684.41 in interest

                          through May 31, 2024; and

                   e.     $1,785.20 in principal contributions to the Industry Fund; and

                   f.     $159.49 in principal contributions to the Drug Testing Fund.

            19.    In addition to the Current Delinquencies, the Complaint further alleges that

   “Defendant’s obligation to make contributions to the Funds is ongoing and such contributions will

   become due and owing during the pendency of this litigation,” as a result, Plaintiffs pled that their

   “claims in this case include any claims for any contributions that become delinquent, or become

   known to be delinquent, during the pendency of this case (the ‘Subsequent Delinquencies’).” (See

   Compl. ¶ 29).

            20.    Defendant has, in fact, incurred Subsequent Delinquencies for which it is liable to

   Plaintiffs. In this regard, subsequent to the filing of the Complaint, Defendant has failed to pay

   contributions to the Fund for any months for November 2023 to present. (See Mouritsen Dec.

   ¶ 19).

            21.    Of those months, the only one for which Defendant even submitted remittance

   reports identifying the amount of work performed by its covered employees, and the amount of

   contributions owed to the Funds, was for November 2023, which identified that Defendant owed

   a total of $4,462.02 in contributions to the Funds for the month of November 2023, including the

   following (see Mouritsen Dec. ¶ 20):



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                  a.     $1,075.12 to the Pension Fund; and

                  b.     $2,645.11 to the Health Fund; and

                  c.     $333.72 to the Training Fund; and

                  d.     $261.25 to the Vacation Plan; and

                  e.     $136.38 to the Industry Fund; and

                  f.     $10.44 to the Drug Testing Fund

            22.   However, despite the fact that Defendant submitted payment of $4,462.02 to the

   Funds for its November 2023 contributions, that payment was returned because Defendant lacked

   sufficient funds in its bank account to cover the payment that was made. Accordingly, Defendant’s

   November 2023 contributions to the Funds remain delinquent. (See Mouritsen Dec. ¶ 21).

            23.   For each of the months of December 2023 through March 2024, Defendant has

   failed to submit either remittance reports or pay contributions to the Funds. Until such time as

   remittance reports are actually received for a given month, then the Funds’ policy is to estimate

   that the contributions that are owed are the same as those that were reported for the most recent

   month for which reports were submitted. Accordingly, although the exact amount of contributions

   owed by Defendant for the Subsequent Delinquencies is currently unknown, the Funds estimate

   that Defendant owes $4,462.02/month in contributions to the Funds for each month between

   December 2023 and March 2024. (See Mouritsen Dec. ¶ 22).

            24.   Case law confirms that it is appropriate to estimate Defendant’s Subsequent

   Delinquencies because Defendant failed to submit remittance reports since November that would

   enable the Funds to determine the exact amount owed. See, e.g., Trs. of the Elec. Welfare Tr. Fund

   v. America's Best Serv., No. GJH-19-2047, 2020 U.S. Dist. LEXIS 211090, at *11 (D. Md. Nov.

   10, 2020) (“Courts have found reasonable estimates sufficient to establish damages where the



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   defendant has failed to provide the remittance reports needed to determine the exact amount

   owed.”); Bd. of Trs. v. 5 Star Washer Serv., No. 1:11cv0331 (CMH/JFA), 2011 U.S. Dist. LEXIS

   128769, at *12 (E.D. Va. Sep. 14, 2011) (“When contributing employers fail to submit monthly

   remittance reports and fail to make the required contributions, the Funds must estimate the amounts

   owed to the Funds in any legal action to collect delinquent contributions.”), recommendation

   adopted, 2011 U.S. Dist. LEXIS 125468 (E.D. Va. Oct. 28, 2011); Finkel v. Union Elevator Corp.,

   No. 07-CV-2227 (ENV)(MDG), 2011 U.S. Dist. LEXIS 49142, at *12 (E.D.N.Y. Mar. 14, 2011)

   (“It is appropriate for a plaintiff to use reasonable estimates when an employer has failed to submit

   payroll reports reflecting the amount of delinquent contributions.”); Flynn v. Extreme Granite,

   Inc., 671 F. Supp. 2d 157, 162 (D.D.C. 2009) (“In light of the defendant’s failure to provide

   periodic reports or allow the plaintiffs access to the defendant's books and records, the court

   accepts the plaintiffs' estimation of delinquent contributions as both reasonable and as accurate as

   possible under the circumstances.”).

            25.   As a result, the Funds currently estimate that Defendant owes a total of $27,178.60

   to the Fund for the Subsequent Delinquencies, inclusive of interest through May 31, 2024 and

   liquidated damages but excluding attorneys’ fees and costs, including the following amounts owed

   to each of the Funds (see Mouritsen Dec. ¶ 23):

                  a.      $6,588.57 to the Pension Fund, including $5,375.60 in principal

                          contributions, $1,075.12 in liquidated damages, and $137.85 in interest

                          through May 31, 2024; and

                  b.      $16,209.82 to the Health Fund, including $13,225.55 in principal

                          contributions, $2,645.11 in liquidated damages, and $339.16 in interest

                          through May 31, 2024; and



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                  c.     $2,045.11 to the Training Fund, including $1,668.60 in principal

                         contributions, $333.72 in liquidated damages, and $42.79 in interest

                         through May 31, 2024; and

                  d.     $1,601.00 to the Vacation Plan, including $1,306.25 in principal

                         contributions, $261.25 in liquidated damages, and $33.50 in interest

                         through May 31, 2024; and

                  e.     $681.90 in principal contributions to the Industry Fund; and

                  f.     $52.20 in principal contributions to the Drug Testing Fund.

            26.   However, as established above, the actual amounts that Defendant owes to the

   Funds as a result of its Subsequent Delinquencies cannot be precisely determined because

   Defendant has failed to even submit remittance reports to the Funds for any month since November

   2023. Accordingly, with respect to the Subsequent Delinquencies, Plaintiffs respectfully request

   that any judgment include the Fund’s ability to seek to supplement the amount owed as a result of

   the Subsequent Delinquencies if the Funds later learn, including in post-judgment discovery, that

   Defendant owes additional amounts to the Funds for the Subsequent Delinquencies.

            27.   Finally, in addition to the above amounts owed to the Fund for the Current and

   Subsequent Delinquencies, the Complaint further alleges that Plaintiffs were “conducting an audit

   of Defendant’s payroll records as authorized by Article 8, Section 24(f) of the CBA, for the period

   January 1, 2020, through March 31, 2023 (the ‘Audit’)” and that “the Audit will reveal that

   Defendant has been delinquent in paying its required contributions to the Funds above and beyond

   the known Current Delinquencies (the ‘Audit Delinquencies’).” (See Compl. ¶ 28).

            28.   Subsequent to the filing of the Complaint, the Funds completed the Audit, which

   identified that Defendant does, in fact, owe Audit Delinquencies.         Specifically, Defendant



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  continues to owe a total of $91,095.13 to the Fund for the Audit Delinquencies, inclusive of interest

  through May 31, 2024 and liquidated damages but excluding attorneys’ fees and costs, including

  the following amounts owed to each of the Funds (see Mouritsen Dec. ¶¶ 24-27 & Ex. C):

                 a.      $19,720.36 to the Pension Fund, including $14,114.66 in principal

                         contributions, $2,822.93 in liquidated damages, and $2,782.77 in interest

                         through May 31, 2024; and

                 b.      $57,615.23 to the Health Fund, including $40,586.91 in principal

                         contributions, $8,117.38 in liquidated damages, and $8,910.94 in interest

                         through May 31, 2024; and

                 c.      $4,885.88 to the Training Fund, including $3,480.66 in principal

                         contributions, $696.13 in liquidated damages, and $709.09 in interest

                         through May 31, 2024; and

                 d.      $7,341.86 to the Vacation Plan, including $5,191.57 in principal

                         contributions, $1,038.31 in liquidated damages, and $1,111.98 in interest

                         through May 31, 2024; and

                 e.      $1,314.34 in principal contributions to the Industry Fund; and

                 f.      $217.46 in principal contributions to the Drug Testing Fund.

           29.   As established above, in addition to the other amounts addressed herein, ERISA

  § 502(g)(2)(E), 29 U.S.C. § 1132(g)(2)(E), also makes Defendant liable for Plaintiffs’ “reasonable

  attorney’s fees and costs of the action, to be paid by the defendant . . . .” Defendant further agreed

  to be bound to the Collection Policy which obligates Defendant to pay Plaintiffs’ attorneys’ fees.

  Accordingly, Defendant also owes attorneys’ fees and costs in the amount of $19,262.78. (See Ex.

  2 – Declaration of Richard S. Siegel, Esq. (“Siegel Decl.”) ¶¶ 6-9 & Ex. A & B)



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           30.    In total, including the amounts owed by Defendant for the Current Delinquencies,

  Subsequent Delinquencies, Audit Delinquencies, and Plaintiffs’ attorneys’ fees and costs,

  Defendant owes a total of $220,753.49 to the Funds as follows:

                  a.     $83,216.98 for the Current Delinquencies; and

                  b.     $27,178.60 for the Subsequent Delinquencies; and.

                  c.     $91,095.13 for the Audit Delinquencies; and

                  d.     $19,262.78 for Plaintiffs’ reasonable attorneys’ fees and costs.

  II.      Argument

           Plaintiffs commenced this action by filing their Complaint on December 30, 2023. (ECF

  #1). On January 16, 2024, Plaintiffs filed a Waiver of the Service of Summons executed by Brandy

  Conway on behalf of Defendant American Veteran Heating & Air (“Defendant”). (ECF #5). As

  Defendant was asked to waive service on January 5, 2024, Defendant’s response to the Complaint

  was due by March 5, 2024. (Id.). On March 5, 2024, Brandy Conway filed a pro se request for

  an extension of time for Defendant to respond to the Complaint. (ECF #6). On March 6, 2024,

  the Court extended Defendant’s time to respond to the Complaint until April 4, 2024. (ECF #9).

  On April 3, 2024, Defendant purported to file a pro se Answer to the Complaint. (ECF #11). On

  April 5, 2024, the Court sua sponte entered an Order striking Defendant’s Answer because, as a

  company, Defendant cannot appear pro se. In that same Order, the Court extended Defendant’s

  time to file a responsive pleading through counsel until April 26, 2024. (ECF #12). Following

  the Court’s Order striking Defendant’s pro se Answer, no counsel has entered an appearance on

  behalf of Defendant and Defendant has failed to plead or otherwise defend within the time allowed.

  On May 1, 2024, the Clerk entered Default against Defendant. (ECF #19). Accordingly, under

  Fed. R. Civ. P. 55(b)(2), default judgment should now be entered against Defendant.



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           With respect to delinquent contributions, ERISA § 515 provides:

                  Every employer who is obligated to make contributions to a multi-
                  employer plan under the terms of the plan or under the terms of a
                  collectively bargained agreement shall, to the extent not inconsistent with
                  law, make such contributions in accordance with the terms and conditions
                  of such plan or such agreement.

  29 U.S.C. § 1145. The remedies for a violation of ERISA § 515 are contained in ERISA

  § 502(g)(2), 29 U.S.C. § 1132(g)(2), which provides that, when an employer, such as Defendant,

  fails to timely submit contractually-required contributions, and Plaintiffs file a lawsuit to recover

  the unpaid contributions, they are entitled to the following:

                  a.     The unpaid contributions;

                  b.     Interest on the delinquent contributions at the rate set by the Funds;

                  c.     An amount equal to the greater of: (i) a second assessment of interest on the

                         delinquent contributions at the above rate; or (ii) liquidated damages up to

                         twenty percent (20%) of the delinquent contributions; and

                  d.     The attorneys’ fees and costs incurred in pursuing the delinquent amounts,

                         including the attorneys’ fees and costs of this action.

           In addition to being obligated to pay these amounts under ERISA, Defendant’s CBA

  further requires Defendant to pay these amounts to the Funds. Pursuant to LMRA § 301(a),

  Defendant is liable to the Funds for breaching its CBA by failing to pay these required

  contributions and other amounts. Thus, Plaintiffs are entitled to judgment under both ERISA and

  the LMRA.

           Accordingly, by failing to make contributions to the Funds and its other payments to

  Plaintiffs as required by to ERISA § 502(g)(2), 29 U.S.C. § 1132(g)(2), the CBA, the Collections

  Policy, and LMRA § 301, 29 U.S.C. § 185, judgment should be entered in favor of Plaintiffs and

  against Defendant in the combined amount of $220,753.49, subject to Plaintiff’s right to seek to

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  petition the Court to amend the judgment should Plaintiffs later determine, including in post-

  judgment discovery, that Defendant owes additional contributions to the Funds for the Subsequent

  Delinquencies. Plaintiffs further request post-judgment interest and attorneys’ fees and costs

  incurred in executing a judgment against Defendant.

  III.     Conclusion

           For the foregoing reasons, Plaintiffs request the Court to enter judgment for the Plaintiffs

  and against Defendant in the amount of at least $220,753.49, subject to Plaintiff’s right to seek to

  petition the Court to amend the judgment should Plaintiffs later determine, including in post-

  judgment discovery, that Defendant owes additional contributions to the Funds for the Subsequent

  Delinquencies.     This amount represents delinquent contributions and other payments owed,

  interest on the delinquent contributions and other payments owed, liquidated damages on the

  delinquent contributions, and attorneys’ fees and costs incurred by the Plaintiffs in recovering

  these amounts. The Plaintiffs further requests that the Court award post-judgment interest on the

  judgment at the rate permitted by 29 U.S.C. § 1961 and attorneys’ fees and costs incurred in

  executing the judgment.

  Dated: May 29, 2024                            Respectfully submitted,

                                                 /s/ Richard S. Siegel
                                                 Richard S. Siegel
                                                 SLEVIN & HART, P.C.
                                                 1625 Massachusetts Avenue, NW, Suite 450
                                                 Washington, DC 20036
                                                 Telephone: (202) 797-8700
                                                 Facsimile: (202) 234-8234
                                                 rsiegel@slevinhart.com
                                                 Attorney for Plaintiffs




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 29, 2024, the foregoing was served by U.S. Mail and

  by email upon the following party at the address it has registered with the Colorado Secretary of

  State.

           American Veteran Heating & Air
           150 Cascade Ct
           Unit B
           Colorado Springs, CO 80907
           Email: info@americanveteranheatingandair.com
           Defendant

                                              /s/ Richard S. Siegel
                                              Richard S. Siegel




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